Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 1 of 24




             EXHIBIT D
                         Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 2 of 24


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                                       112TH CONGRESS                                                                             S. PRT.
                                                      "                       COMMITTEE PRINT                            !
                                          2d Session                                                                              112–38




                                                STAFF REPORT ON MEDTRONIC’S INFLUENCE
                                                      ON INFUSE CLINICAL STUDIES




                                                                   PREPARED BY THE STAFF OF THE

                                                                COMMITTEE ON FINANCE
                                                                UNITED STATES SENATE




                                                                                  OCTOBER 2012




                                                            Printed for the use of the Committee on Finance




                                                                      U.S. GOVERNMENT PRINTING OFFICE
                                           76–091                                WASHINGTON : 2006



                                                       For sale by the Superintendent of Documents, U.S. Government Printing Office
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                         Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 3 of 24




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                         Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 4 of 24




                                                                                       CONTENTS

                                                                                                                                                                         Page
                                      Introduction ..............................................................................................................          1
                                      Findings ....................................................................................................................        2
                                      Background on InFuse ............................................................................................                    2
                                      Medtronic’s Financial Relationships to Physician Authors of rhBMP–2 Stud-
                                        ies ..........................................................................................................................     4
                                      Medtronic Employees Were Substantively Involved in Producing Journal Arti-
                                        cles Authored by the Company’s Physician Consultants ..................................                                            6
                                      Medtronic Recommended Omitting Discussion of Adverse Events Possibly
                                        Associated With the Product in a 2005 Publication ..........................................                                       8
                                      Medtronic Sought to Emphasize Pain in Alternative Treatments ......................                                                 11
                                      Medtronic Attempted to Downplay Cervical Spine Side Effects in a 2006
                                        Publication ............................................................................................................          13
                                      Omission of Retrograde Ejaculation Rates in Investigative Patient Groups ......                                                     14
                                      Medtronic Wrote Author Responses to Peer-Review ............................................                                        15
                                      PEEK Spacer Cervical Spine Study .......................................................................                            17
                                      Expert Testimony to the FDA Written By Medtronic ..........................................                                         18
                                      Conclusion ................................................................................................................         18

                                      Appendix—Exhibits .................................................................................................                 21

                                                                                                       (III)




VerDate Nov 24 2008   12:18 Oct 23, 2012   Jkt 065425      PO 00000        Frm 00003        Fmt 5904      Sfmt 5904       R:\DOCS\76091.000            MMAUK
                         Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 5 of 24




VerDate Nov 24 2008   12:18 Oct 23, 2012   Jkt 065425   PO 00000   Frm 00004   Fmt 5904   Sfmt 5904   R:\DOCS\76091.000   MMAUK
                         Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 6 of 24




                                                                               Introduction
                                         The United States Senate Committee on Finance (Committee)
                                      has jurisdiction over the Medicare and Medicaid programs. As the
                                      Chairman and a senior member and former Chairman of the Com-
                                      mittee, we have a responsibility to the more than 100 million
                                      Americans who receive health care coverage under these programs
                                      to oversee their proper administration and ensure the taxpayer dol-
                                      lars are appropriately spent on safe and effective medical treat-
                                      ments. On June 21, 2011, the Committee staff initiated an inquiry
                                      into whether Medtronic, Inc. (Medtronic or the Company) improp-
                                      erly influenced peer-reviewed studies of Medtronic’s bone-growth
                                      product InFuse, also known as bone morphogenetic protein 2
                                      (BMP–2).
                                         The Committee staff ’s inquiry was prompted by reports alleging
                                      that physician authors who had financial ties to Medtronic failed
                                      to report dangerous side effects associated with InFuse. These dan-
                                      gerous side effects were subsequently reported by medical research-
                                      ers that did not have financial relationships with the company.1
                                         A week later, on June 28, 2011, The Spine Journal devoted an
                                      entire publication to exposing a pattern of academic surgeons with
                                      financial ties to Medtronic omitting mention of serious side effects
                                      associated with InFuse.2 The analysis, led by Dr. Eugene Carragee
                                      at Stanford University, identified 13 studies sponsored by Med-
                                      tronic where there was absolutely no reporting of adverse events
                                      associated with InFuse.3 However, The Spine Journal found the
                                      rate of adverse events related to the use of InFuse ranged from
                                      10%–50%.4
                                         In response to the June 21, 2011 request by Chairman Baucus
                                      and Senator Grassley, Medtronic produced more than 5,000 docu-
                                      ments pertaining to the 13 rhBMP–2 studies analyzed in The Spine
                                      Journal. The documents included the amount of money Medtronic
                                      paid to physician authors, e-mail communication between Med-
                                      tronic employees, and e-mails between Medtronic employees and
                                      physician authors pertaining to drafts of peer-reviewed articles re-
                                      porting the results of the Medtronic-sponsored clinical trials. After
                                      thorough review of the documents submitted by Medtronic and
                                      other materials, the Committee staff makes the following findings:


                                        1 ‘‘New Study Links Spine Product From Medtronic to Risk of Sterility in Men,’’ New York

                                      Times, May 25, 2011; ‘‘Researchers get royalties, papers omit sterility link,’’ Milwaukee Journal
                                      Sentinel, May 25, 2011.
                                        2 ‘‘Spine Experts Repudiate Medtronic Studies,’’ New York Times, June 28, 2011.
                                        3 ‘‘A critical review of recombinant human bone morphogenetic protein–2 trials in spinal sur-

                                      gery: emerging safety concerns and lessons learned,’’ The Spine Journal 11 (2011) 471–491 at
                                      http://www.spine.org/Documents/TSJJune2011lCarrageeletallCriticalRev.pdf.
                                        4 Id.


                                                                                          (1)




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                         Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 7 of 24




                                                                                          2

                                                                                  Findings
                                           • Medtronic was heavily involved in drafting, editing, and shap-
                                             ing the content of medical journal articles authored by its phy-
                                             sician consultants who received significant amounts of money
                                             through royalties and consulting fees from Medtronic. The com-
                                             pany’s significant role in authoring or substantively editing
                                             these articles was not disclosed in the published articles. Med-
                                             ical journals should ensure industry role contributions be fully
                                             disclosed.
                                           • Medtronic paid a total of approximately $210 million to physi-
                                             cian authors of Medtronic-sponsored studies from November
                                             1996 through December 2010 for consulting, royalty, and other
                                             miscellaneous arrangements.
                                           • An e-mail exchange shows that a Medtronic employee rec-
                                             ommended against publishing a complete list of adverse events
                                             possibly associated with InFuse in a 2005 Journal of Bone and
                                             Joint Surgery article.
                                           • Medtronic officials inserted language into studies that pro-
                                             moted InFuse as a better technique than taking a bone graft
                                             from the pelvic bone (autograft technique) by emphasizing the
                                             pain of the autograft technique.
                                           • Documents indicate that Medtronic prepared Dr. Hal Mathew’s
                                             remarks to the U.S. Food and Drug Administration (FDA) ad-
                                             visory panel meeting prior to InFuse being approved. At the
                                             time, Dr. Mathews was a private physician but was hired as
                                             a vice president at Medtronic in 2007.
                                           • Medtronic documents show the company unsuccessfully at-
                                             tempted to adopt weaker safety rules for a clinical trial study-
                                             ing InFuse in the cervical spine that would have allowed the
                                             company to continue the trial in the event that patients experi-
                                             enced severe swelling in the neck.
                                                                      Background on InFuse
                                        In 2002, the FDA approved InFuse (also known as rh–BMP–2 or
                                      bone morphogenetic protein 2), a genetically engineered protein
                                      that stimulates bone growth for use in spinal fusion surgery in con-
                                      junction with the LT-Cage Lumbar Tapered Fusion Device to treat
                                      degenerative disc disease in the lower spine.5
                                        Degenerative disc disease is a condition where the discs between
                                      spinal vertebrae deteriorate with age and can be a source of back
                                      pain. In some cases, degenerative disc disease is treated with spi-
                                      nal fusion surgery where the degenerated disc is removed and the
                                      adjacent vertebrae are joined together with a bone graft material
                                      to eliminate pain.6 Medtronic promotes the use of InFuse for spinal
                                      surgery as a way to eliminate surgery and pain associated with the

                                        5 See FDA’s brief overview of the InFUSETM Bone Graft/LT–CAGETM Lumbar Tapered Fusion

                                      Device at http://www.fda.gov/MedicalDevices/ProductsandMedicalProcedures/DeviceApprovals
                                      andClearances/Recently-ApprovedDevices/ucm083423.htm.
                                        6 Handout on Health: Back Pain, April 2012, National Institute of Arthritis and Musculo-

                                      skeletal and Skin Diseases, NIH at http://www.niams.nih.gov/healthlinfo/backlpain/
                                      default.asp.




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                         Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 8 of 24




                                                                                          3

                                      autograft procedure, where bone is harvested from the patient’s hip
                                      for use in the spine.7
                                         The FDA’s 2002 approval of InFuse was limited to spinal sur-
                                      geries using the anterior lumbar interbody fusion (ALIF) technique.
                                      The ALIF approach allows surgeons to access the spine through the
                                      abdomen but does not involve ‘‘retraction of the spinal nerves and
                                      neurologic structures’’ which decreases the ‘‘risk of neurologic in-
                                      jury.’’ 8 During the FDA advisory committee hearing prior to the
                                      approval of InFuse, concerns were expressed about the high poten-
                                      tial for off-label use.9 The Agency for Healthcare Research and
                                      Quality (AHRQ) estimates that, in 2009, only 21,240 of 140,467 spi-
                                      nal fusion surgeries with InFuse were performed using the anterior
                                      lumbar technique. The remaining 119,227 hospital stays were asso-
                                      ciated with off-label spinal fusion techniques such as posterior lum-
                                      bar fusion and cervical spinal fusion.10 This AHRQ estimate is con-
                                      sistent with a widely cited figure that ‘‘at least 85% of InFuse use
                                      is now off-label.’’ 11




                                      * Includes posterior lumbar interbody fusion (PLIF), transforaminal lumbar inter-
                                      body fusion (TLIF), and extreme lateral interbody fusion (XLIF).
                                      † Includes anterior dorsal fusion, posterior dorsal fusion, lateral transverse lumbar
                                      fusion, and posterolateral lumbar fusion.
                                      Source: Agency for Healthcare Reserach and Quality, Center for Delivery, Organiza-
                                      tion, and Markets, Healthcare Cost and Utilization Project, Nationwide Inpatient
                                      Sample, 2002–2009.




                                        7 ‘‘Questions and Answers—Infuse Bone Graft and LT Cage Device,’’ available on Medtronic

                                      website.
                                        8 ‘‘Anterior Lumbar Interbody Fusion (ALIF)—Overview and Indications,’’ USC Center for Spi-

                                      nal Surgery, University of Southern California at http://www.uscspine.com/treatment/anterior-
                                      lumbar-fusion.cfm.
                                        9 FDA Advisory Panel Meeting, January 10, 2002, FDA at http://www.fda.gov/ohrms/

                                      dockets/ac/02/transcripts/3828t1.htm.
                                        10 ‘‘Trends in Hospital Stays For Spinal Fusion Using Recombinant Human Bone Morpho-

                                      genetic Protein,’’ Healthcare Cost and Utilization Project, AHRQ.
                                        11 ‘‘Medtronic Surgeons Held Back, Study Says,’’ Wall Street Journal, June 29, 2011.
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                         Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 9 of 24




                                                                                                            4
                                                                                                       Table 1.
                                                                        Hospital stays involving spinal fusion procedures using BMP, 2002–2009

                                                                         2002        2003          2004          2005           2006           2007           2008          2009

                                      Cervical spinal fu-
                                         sion ......................        377        3,656        7,590          8,805        14,548         18,955         18,887         18,769
                                      Anterior lumbar fu-
                                         sion ......................        920        8,166       13,511         13,239         15,870        17,774         19,820         21,240
                                      Posterior lumbar fu-
                                         sion * ...................         978       12,667       29,460         42,997        56,185         61,382         80,367         83,347
                                      All other spinal fu-
                                         sion stays involv-
                                         ing insertion of
                                         BMP † ...................          174        2,783        6,126         10,351        11,828         12,862         16,329         17,161
                                         * Includes posterior lumbar interbody fusion (PLIF), transforaminal lumbar interbody fusion (TLIF), and extreme lateral interbody fusion
                                      (XLIF).
                                         † Includes anterior dorsal fusion, posterior dorsal fusion, lateral transverse lumbar fusion, and posterolateral lumbar fusion.
                                         Source: Agency for Healthcare Reserach and Quality, Center for Delivery, Organization, and Markets, Healthcare Cost and Utilization Project,
                                      Nationwide Inpatient Sample, 2002–2009.

                                        In 2008, the FDA published a public health notification linking
                                      the off-label use of InFuse in the cervical spine with life-threat-
                                      ening swelling in patient’s throats and necks.12 The Wall Street
                                      Journal reported at the time that ‘‘the agency . . . received 38 re-
                                      ports over four years of side effects, mainly swelling of neck and
                                      throat tissue, which resulted in compression of the airway and
                                      other structures in the neck.’’ 13 In addition, the Wall Street Jour-
                                      nal reported that ‘‘[a]t least three-quarters of the roughly 200 ‘ad-
                                      verse events’ reported to the FDA involve off-label uses of In-
                                      Fuse.’’ 14
                                        In March 2011, the FDA declined to approve a higher-strength
                                      version of InFuse called Amplify due to concerns that the product
                                      may cause cancer.15 Later that year, Dr. Eugene Carragee of Stan-
                                      ford University presented data at a spinal surgeon conference that
                                      he believes demonstrates that the patient group that received Am-
                                      plify experienced a ‘‘significantly higher number of cancers . . .
                                      compared to a control group that received a bone graft’’ but was not
                                      reported in a 2009 industry-sponsored publication on Amplify.16 Dr.
                                      Carragee told the New York Times that ‘‘doctors often administered
                                      InFuse off-label at levels significantly above the recommended dos-
                                      ages, ones that approach or exceed the amount of rhBMP–2 found
                                      in a dose of Amplify.’’ 17
                                                                       Medtronic’s Financial Relationships to
                                                                       Physician Authors of rhBMP–2 Studies
                                        Medtronic produced a list of payments to physician authors of
                                      the 13 industry studies that were the subject of The Spine Journal
                                      article published in June 2011. The physicians who received pay-

                                           12 ‘‘Medtronic Product Linked to Surgery Problems,’’ Wall Street Journal, September 4, 2008.
                                           13 Id.
                                           14 Id.
                                           15 ‘‘FDA sets back Medtronic spine product,’’ Star Tribune, March 10, 2011.
                                         16 ‘‘Data Links High Doses of Bone Drug to Cancer,’’ November 3, 2011, New York Times at

                                      http://www.nytimes.com/2011/11/04/health/research/amplify-by-medtronic-may-raise-chance-
                                      of-cancer-data-shows.html.
                                         17 Id.




VerDate Nov 24 2008   12:18 Oct 23, 2012    Jkt 065425           PO 00000       Frm 00008      Fmt 6633      Sfmt 6633        R:\DOCS\76091.000             MMAUK
                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 10 of 24




                                                                                                      5

                                      ments of over $1 million from Medtronic from 1996 through 2010
                                      are listed below along with the amount of money received.
                                                                                                                              Concept Properties,
                                           Year       Scott D. Boden         Charles L. Branch        J. Kenneth Burkus                               Curtis A. Dickman
                                                                                                                                    LLC 18

                                             1996             $18,750.00                      —                       —                        —                       —
                                             1997             $75,000.00                      —                       —                        —                $5,003.70
                                             1998             $75,000.00              $140,703.15              $18,700.00                       —              $73,239.25
                                             1999             $86,957.00               $49,238.87              $34,712.12                      —              $130,352.64
                                             2000             $75,000.00              $104,495.00              $29,285.75                       —              $41,419.50
                                             2001             $73,750.00              $150,000.00             $149,920.00              $636,182.00             $56,960.00
                                             2002             $80,000.00              $201,997.75             $220,539.50            $1,028,882.00             $72,881.00
                                             2003             $82,500.00              $180,219.99             $268,742.50            $1,226,179.00            $316,215.00
                                             2004            $138,500.00              $175,473.78             $360,447.78            $4,992,137.00            $320,045.99
                                             2005          $1,364,100.00              $127,087.44             $331,070.44           $13,141,165.00            $339,338.00
                                             2006          $1,782,550.00              $136,390.58             $613,849.71            $8,842,157.00            $401,138.77
                                             2007          $3,400,875.00              $114,159.39             $719,281.84            $9,683,098.00            $383,192.00
                                             2008         $21,543,052.00              $487,688.50           $1,928,503.35            $9,159,891.00            $388,248.00
                                             2009                    —                $460,319.35             $732,563.85            $7,117,112.00            $355,809.00
                                             2010                    —                $827,851.81             $972,719.99            $9,004,465.00            $389,099.00

                                             Total        $28,796,034.00            $3,155,625.61           $6,380,336.83           $64,831,268.00           $3,272,941.85


                                           Year      John R. Dimar, III     Steven D. Glassman        Matthew F. Gornet       Regis W. Haid, Jr.        John G. Heller

                                             1996              $6,250.00                $6,250.00                     —                        —                      —
                                             1997             $27,000.00               $25,000.00               $1,880.00               $27,500.00                    —
                                             1998             $50,000.00               $50,000.00                      —               $216,842.44             $10,892.00
                                             1999             $52,022.65               $52,216.41              $29,900.00            $1,019,832.54             $70,817.57
                                             2000             $50,000.00               $50,976.43              $16,369.97            $1,507,242.15             $30,000.00
                                             2001            $188,428.00              $194,528.00              $15,128.00            $1,394,390.61             $37,975.10
                                             2002            $100,100.00               $71,750.00               $4,762.00            $1,669,745.11              $1,161.73
                                             2003            $116,283.65              $138,941.44              $10,194.00            $1,957,742.86             $49,191.50
                                             2004            $104,043.67              $146,137.07              $17,924.00            $2,484,450.94             $42,957.44
                                             2005            $147,207.99              $248,019.59              $67,763.93            $2,473,518.00            $154,835.70
                                             2006            $236,306.95              $155,753.16             $238,787.49            $2,454,569.00            $149,215.39
                                             2007            $130,767.60              $257,926.16             $649,542.33            $2,626,576.07            $330,792.15
                                             2008            $234,094.50              $187,605.50           $1,181,039.87            $2,467,911.23            $288,957.11
                                             2009            $160,551.00               $88,139.80             $892,500.87            $2,525,743.88            $255,236.24
                                             2010            $163,310.20               $75,019.80             $859,983.76            $2,723,749.13            $352,404.36

                                             Total         $1,766,366.21            $1,748,263.36           $3,985,776.22           $25,549,813.96           $1,774,436.29


                                           Year       Inspire, LLC 19        Gerald E. Rodts, Jr.      Volker Sonntag         Ensor E. Transfeldt     Thomas A. Zdeblick

                                             1996                    —                         —                      —                 $12,500.00              $95,185.34
                                             1997                    —                         —               $34,745.92               $50,000.00             $422,668.65
                                             1998                    —                 $25,065.54             $207,622.16               $56,196.00             $838,794.89
                                             1999                    —                 $44,748.08             $795,053.91               $61,219.28           $1,131,463.17
                                             2000                    —               $ 152,496.47           $1,756,041.55               $56,170.90           $1,037,381.49
                                             2001                    —                $140,343.39           $1,036,993.00               $71,117.56           $1,984,356.45
                                             2002                    —                $172,278.04           $1,646,050.49              $115,315.16           $3,471,930.41
                                             2003                    —                $142,025.68           $1,904,689.00              $258,912.62           $4,580,361.62
                                             2004                    —                $161,149.02           $2,728,639.00              $299,477.72           $4,447,269.00
                                             2005                    —                $303,877.98           $2,202,595.00               $30,474.70           $3,950,516.08
                                             2006                    —                $396,139.57           $2,090,998.00              $206,388.76           $3,469,863.71
                                             2007           $247,365.00               $629,451.53           $2,163,661.90              $722,779.00           $2,961,272.00
                                             2008           $329,998.00               $581,984.26           $2,271,477.00              $548,584.74           $2,521,170.00
                                             2009           $698,829.00               $432,403.00           $1,772,361.00              $483,254.00           $1,582,156.00
                                             2010          $1,632,813.00                       —            $2,241,156.00              $589,930.00           $1,674,351.00

                                             Total         $2,909,005.00            $3,181,962.56          $22,852,083.93            $3,562,320.44          $34,168,739.81

                                       More detailed information concerning Medtronic’s physician pay-
                                      ments is available in the appendix to this report.20

                                        18 According to filings with the Office of the Secretary of State of Kentucky, John R. Dimar,
                                      III and Steven D. Glassman are listed as current officers of Concept Properties, LLC as of June
                                      18th, 2012.
                                        19 According to an attachment to Medtronic’s June 21, 2011 letter to the Committee, the Com-
                                      pany ‘‘believes that Inspire, LLC is owned by physicians including Dr. Transfeldt.’’
                                        20 See page 22.




VerDate Nov 24 2008   12:18 Oct 23, 2012    Jkt 065425     PO 00000        Frm 00009       Fmt 6633     Sfmt 6633         R:\DOCS\76091.000          MMAUK
                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 11 of 24




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                                               Medtronic Employees Were Substantively Involved
                                                   in Producing Journal Articles Authored
                                                   by the Company’s Physician Consultants
                                        A review of the documents Medtronic provided to the Committee
                                      demonstrates that Medtronic employees, including employees work-
                                      ing for its marketing department, collaborated with physician au-
                                      thors, many of whom had significant financial relationships with
                                      Medtronic, to draft the following studies:
                                        • Burkus JK, Gornet MF, Dickman CA, Zdeblick TA. Anterior
                                          lumbar interbody fusion using rhBMP–2 with tapered
                                          interbody cages. J. Spinal Disord. Tech. 2002; 15:337–49.21
                                        • Burkus JK, Transfeldt EE, Kitchel SH, et al. Clinical and radi-
                                          ographic outcomes of anterior lumbar interbody fusion using
                                          recombinant human bone morphogenetic protein–2. Spine
                                          2002.22
                                        • Burkus JK, Heim SE, Gornet MF, Zdeblick TA. Is INFUSE
                                          bone graft superior to autograft bone? An integrated analysis
                                          of clinical trials using the LT–CAGE lumbar tapered fusion de-
                                          vice. J. Spinal Disord. Tech. 2003.23
                                        • Baskin DS, Ryan P, Sonntag V, et al. A prospective, random-
                                          ized, controlled cervical fusion study using recombinant human
                                          bone morphogenetic protein–2 with the CORNERSTONE–SR
                                          allograft ring and the ATLANTIS anterior cervical plate. Spine
                                          2003.24
                                        • Burkus JK, Dorchak JD, Sanders DL. Radiographic assess-
                                          ment of interbody fusion using recombinant human bone
                                          morphogenetic protein type 2. Spine 2003.25
                                        • Haid RW, Branch CL, Alexander JT, Burkus JK. Posterior
                                          lumbar interbody fusion using recombinant human bone
                                          morphogenetic protein type 2 with cylindrical interbody cages.
                                          Spine J. 2004.26
                                        • Burkus JK, Sandhu HS, Gornet MF, Longley MC. Use of
                                          rhBMP–2 in combination with structural cortical allografts
                                        21 See correspondence and draft articles MSD–R062111–033531—MSD–R062111–033562;
                                      MSD–R062111–033566—MSD–R062111–033568—MSD–R062111–033612;          MSD–R062111–
                                      033616;    MSD–R062111–040460—MSD–R062111–040463;       MSD–R062111–077880—MSD–
                                      R062111–077920; MSD–R062111–033822—MSD–R062111–033862; MSD–R062111–080852—
                                      MSD–R062111–080894.
                                        22 See correspondence and draft articles MSD–R062111–033047—MSD–R062111–033079;
                                      MSD–R062111–033225—MSD–R062111–033256;          MSD–R062111–033631—MSD–R062111–
                                      033668;    MSD–R062111–033748—MSD–R062111–033784;       MSD–R062111–055062—MSD–
                                      R062111–055067; MSD–R062111–033972—034006.
                                        23 See correspondence and draft articles MSD–R062111–064299—MSD–R062111–064284;
                                      MSD–R062111–064346—MSD–R062111–064373;          MSD–R062111–067943—MSD–R062111–
                                      067971;    MSD–R062111–080895—MSD–R062111–080899;       MSD–R062111–080956—MSD–
                                      R062111–080983.
                                        24 See correspondence and draft articles MSD–R062111–034007—MSD–R062111–034039;
                                      MSD–R062111–034087—MSD–R062111–034189.
                                        25 See correspondence and draft articles MSD–R062111–033112—MSD–R062111–033126;
                                      MSD–R062111–064232—MSD–R062111—064245;          MSD–R062111–033434—MSD–R062111–
                                      033450; MSD–R062111–033669—MSD–R062111–033688.
                                        26 See correspondence and draft articles MSD–R062111–040537—MSD–R062111–040561;
                                      MSD–R062111–069990—MSD–R062111–069997;          MSD–R062111–078885—MSD–R062111–
                                      078895;    MSD–R062111–034221—MSD–R062111–034224;       MSD–R062111–068009—MSD–
                                      R062111–068070;     MSD–062111–040735—MSD–062111–040773;     MSD–R062111–040848—
                                      R062111–040887; MSD–R062111–068275—MSD–R062111–068309; MSD–R062111–040912—
                                      MSD–R062111–041018;      MSD–R062111–068487—MSD–R062111–068541;    MSD–R062111–
                                      079038—MSD–R062111–079039.




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                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 12 of 24




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                                           surgery: clinical and radiographic outcomes in anterior lumbar
                                           spinal fusion. J. Bone Joint Surg. Am. 2005; 87:1205–12.27
                                         • Glassman SD, Dimar JR, Burkus K, et al. The efficacy of
                                           rhBMP–2 for posterolateral lumbar fusion in smokers. Spine
                                           2007.28
                                         • Dimar JR, Glassman SD, Burkus JK, et al. Clinical and radio-
                                           graphic analysis of an optimized rhBMP–2 formulation as an
                                           autograft replacement in posterolateral lumbar spine arthro-
                                           desis. J. Bone Joint Surg. Am. 2009. 29
                                         • Burkus JK, Gornet MF. Six-Year Outcomes of Anterior Lum-
                                           bar Interbody Arthrodesis with Use of Interbody Fusion Cages
                                           and Recombinant Human Bone Morphogenetic Protein–2.
                                           JBJS 2009.30
                                         • Dawson E, Bae HW, Burkus JK, et al. Recombinant human
                                           bone morphogenetic protein–2 on an absorbable collagen
                                           sponge with an osteoconductive bulking agent in posterolateral
                                           arthrodesis with instrumentation. A prospective randomized
                                           trial. J. Bone Joint Surg. Am. 2009.31
                                         Medtronic told the Committee that it instituted policies, begin-
                                      ning in the mid-2000s, to ensure that interactions between the
                                      company and physician authors regarding peer-reviewed publica-
                                      tions are ‘‘appropriate.’’ 32 These policies include:
                                         • Prohibiting the compensation of ‘‘a researcher to speak about
                                           or broadly disseminate research findings prior to FDA approval
                                           of the unapproved uses, other than providing a report of pub-
                                           lishable quality to Medtronic and/or a peer reviewed journal
                                           for publication.’’—implemented in April 2006.
                                         • Requiring ‘‘that clinical trial outcomes be presented without
                                           bias and with full disclosure.’’—implemented on January 8,
                                           2008.
                                         • Requiring ‘‘that a Medtronic employee’s contribution to any
                                           publication must be appropriately disclosed, according to the
                                           standards of the International Committee of Medical Journal
                                           Editors (‘‘ICMJE’’).’’—implemented in 2009.
                                         • Barring ‘‘Sales and Marketing personnel from participating in
                                           a publication project as an author or contributor. Only employ-
                                           ees in the Clinical, Medical Affairs, or Research and Develop-
                                           ment Departments were permitted to serve as authors or con-
                                           tributors (as defined by ICMJE Guidelines), and only with dis-
                                           closure.’’—implemented on August 8, 2010.
                                        27 See correspondence and draft articles MSD–R062111–034854—MSD–R062111–034894;
                                      MSD–R062111–034957—MSD062111–034994; MSD–R062111–061701—MSD–R062111–061708;
                                      MSD–R062111–064785—MSD–R062111–064787.
                                        28 See correspondence and draft articles MSD–R062111–065102—MSD–R062111–065120;
                                      R062111–065287—R062111–065317; MSD–R062111–043742—MSD–R062111–043775.
                                        29 See correspondence and draft articles MSD–062111–R065138—MSD–R062111–065155;
                                      MSD–R062111–043226—MSD–R062111–043246;              MSD–R062111–056122—MSD–R062111–
                                      056142;      MSD–R062111–037519—MSD–R062111–037546;          MSD–R062111–046108—MSD–
                                      R062111–046160; MSD–R062111–067520—MSD–R062111–067566.
                                        30 See correspondence and draft articles MSD–R062111–058250—MSD–R062111–058285;
                                      MSD–R062111–045886—MSD–R062111–045954;              MSD–R062111–046823—MSD–R062111–
                                      046900;      MSD–R062111–037797—MSD–R062111–037821;          MSD–R062111–047304—MSD–
                                      R062111–047332; MSD–R062111–060896—060898; MSD–R062111–049092—MSD–R02111–
                                      049100.
                                        31 See correspondence and draft articles MSD–R062111–059388—MSD–R062111–059410;
                                      MSD–R062111–060390—MSD–R062111–060421.
                                        32 Letter from Medtronic to the Senate Finance Committee, May 1, 2012; Medtronic policies,
                                      MSD–R021612–000187—MSD–R021612–000435.




VerDate Nov 24 2008   12:18 Oct 23, 2012   Jkt 065425   PO 00000   Frm 00011   Fmt 6633   Sfmt 6633   R:\DOCS\76091.000   MMAUK
                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 13 of 24




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                                        • Prohibiting ‘‘Marketing personnel from making any contribu-
                                           tions to the Discussion section of a publication, whether or not
                                           their contribution rises to the level of contributorship under
                                           ICMJE Guidelines’’ and prohibiting ‘‘any employees not identi-
                                           fied as authors or contributors from contributing to the Discus-
                                           sion section.’’—implemented on October 11, 2011.
                                        • Requiring that ‘‘all authors sign a standardized authorship
                                           agreement clarifying (1) the authors’ responsibility to fully dis-
                                           close relationships with Medtronic in any related publication,
                                           (2) the authors’ responsibility to ensure appropriate attribution
                                           of authorship and contributorship, and (3) the authors’ ac-
                                           knowledgement that Medtronic will not compensate physicians
                                           for writing or editing activities.’’—implemented on December 6,
                                           2011.
                                        The company defends collaboration between company employers
                                      and physician authors as ‘‘a well-established and widely-accepted
                                      part of the peer review process used to subject articles to critical
                                      scrutiny, as a medical device company like Medtronic typically
                                      maintains the most complete set of data relating to the use, as well
                                      as properties of its devices and thus is uniquely positioned to make
                                      valuable contributions to potential articles.’’ 33 Further, Medtronic
                                      maintains that ‘‘the content of these articles is ultimately con-
                                      trolled by the authors.’’ 34 The company wrote:
                                           Some of the employees who reviewed these articles resided
                                           nominally in the ‘‘Marketing’’ Department, but these employees
                                           generally are technically and scientifically trained who have
                                           earned doctoral or other advanced degrees in relevant dis-
                                           ciplines and draw on deep expertise in the science of bone
                                           morphogenetic proteins, in the design and implementation of
                                           clinical studies, in technical expression of clinical practice, and
                                           in statistical analysis. Importantly, at [Medtronic Spinal Bio-
                                           logics] the Marketing Department is distinct from the Sales
                                           Department. Marketing personnel are tasked with, among
                                           other things, anticipating the needs of Medtronic’s physician
                                           customers, following the latest scientific and clinical develop-
                                           ments in the field, and using evidence to obtain wider approv-
                                           als, use, and acceptance of products. Sales personnel, on the
                                           other hand, are designated to interact directly with customers
                                           for the purpose of effecting sales. In every case, however, phy-
                                           sicians—not Medtronic personnel—prepare draft manuscripts,
                                           select content, approve suggested modifications, and are re-
                                           sponsible for the final article content that they submit for pub-
                                           lication and review by the scientific community.35
                                                    Medtronic Recommended Omitting Discussion
                                                       of Adverse Events Possibly Associated
                                                       With the Product in a 2005 Publication
                                       According to the FDA’s Summary of Safety and Effectiveness
                                      Data of the 2002 IDE InFuse product, ‘‘the incidence of adverse
                                           33 Id.
                                           34 Id.
                                           35 Id.




VerDate Nov 24 2008   12:18 Oct 23, 2012    Jkt 065425   PO 00000   Frm 00012   Fmt 6633   Sfmt 6633   R:\DOCS\76091.000   MMAUK
                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 14 of 24




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                                      events that were considered device related, including implant
                                      displacement/loosening, implant malposition and subsidence were
                                      all greater in the investigational groups [that received InFuse]
                                      compared to the control group.’’ 36 However, documents indicate
                                      that a Medtronic employee involved in editing a draft of the 2005
                                      Journal of Bone and Joint Surgery (JBJS) article by Burkus, et al.
                                      about a similar InFuse procedure involving allograft bone (a cage
                                      made from donated bone rather than the FDA-approved titanium),
                                      recommended that ‘‘significant detail’’ concerning adverse event
                                      data should not be published.37
                                         On June 16, 2004, Dr. Julie Bearcroft, Director of Technology
                                      Management in Medtronic’s Biologics Marketing Department,
                                      wrote an e-mail to other Medtronic employees, commenting on a
                                      draft of the study, ‘‘I have made some significant changes to this
                                      document (some at the request of Dr. Burkus) both in format and
                                      content.’’ 38 In this e-mail, she asked: ‘‘How much information
                                      should we provide relative to adverse events? . . . You will see my
                                      [note] in the attached document but I don’t think significant detail
                                      on this section is warranted.’’ 39 The referenced note in the draft ar-
                                      ticle stated: ‘‘I don’t believe we want to report in the same manner
                                      as we do in IDE studies. I personally think it is appropriate to sim-
                                      ply report the adverse events were equivalent in the two groups
                                      without the detail.’’ 40 According to an internal e-mail, the adverse
                                      events were observed in the trial and formatted in a detailed
                                      table.41 But following the advice of Bearcroft, this table of adverse
                                      events was not included in the published paper.42
                                         On July 3, 2004, after Medtronic edited the paper, Dr. Burkus
                                      sent a draft to his co-authors writing that ‘‘this manuscript docu-
                                      ments the superiority in clinical and radiographic outcomes with
                                      the use of rhBMP2 in a study population of only 133 patients.’’ 43
                                         According to the Carragee et al. Spine Journal article published
                                      in 2011, the 2005 JBJS article ‘‘reported no complications, such as
                                      end-plate fracture, collapse, and implant migration associated with
                                      rhBMP–2 despite the clear radiographic findings in at least the one
                                      presented case.’’ 44 The e-mail exchange indicates that, in addition
                                      to Medtronic editing the manuscript without attribution, the com-
                                      pany was recommending that the article omit a complete account-
                                      ing of adverse event data, including serious adverse event data
                                      that were already considered a documented concern by FDA in
                                      similar application.




                                        36 FDA Summary of Safety and Effectiveness for InFuse Bone Graft/LT–Cage Lumbar Tapered

                                      Fusion Device, available at http://www.accessdata.fda.gov/cdrhldocs/pdf/P000058b.pdf.
                                        37 E-mail from Julie Bearcroft, June 16, 2004, MSD–R062111–034854.
                                        38 Id.
                                        39 E-mail from Dr. Burkus, July 3, 2004, MSD–R062111–034957.
                                        40 Id.
                                        41 E-mail between Medtronic Employees on June 7, 2004, MSD–R062111–064785.
                                        42 E-mail between Medtronic Employees on June 7, 2004, MSD–R062111–064785.
                                        43 E-mail from Dr. Burkus, July 3, 2004, MSD–R062111–034957.
                                        44 The Spine Journal 11 (2011) 471–491.




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                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 15 of 24




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                                         These types of adverse events were disclosed in Table V of a 2009
                                      follow-up article concerning the original IDE study.45 Studies pub-
                                      lished in 2007 revealed that InFuse is associated with ‘‘a clinically
                                      important early inflammatory and osteoclastic effect of the rhBMP–
                                      2 in soft tissue and bone, respectively.’’ 46 In other words, Med-
                                      tronic recommended against including information in the study
                                      that was ultimately revealed to have an association between In-
                                      Fuse and weakening that could lead to collapse of the bone and im-
                                      plant and required that patients undergo additional surgery.
                                         The CONSORT (Consolidated Standards of Reporting Trials)
                                      Group, an organization that develops guidelines for reporting ran-
                                      domized controlled trials endorsed by medical journals such as the
                                      New England Journal of Medicine and the Journal of the American
                                      Medical Association, recommended in its guidelines in 2001 that
                                      ‘‘[a]ll important adverse events or side effects in each intervention
                                      group’’ should be reported in the ‘‘Results’’ section of a publication
                                      of a randomized trial.47 Although not in effect at the time Bearcroft
                                      made the recommendation, in 2004, the CONSORT group identified
                                      the practice of ‘‘providing summed numbers for all adverse events
                                      for each study arm, without separate data for each type of adverse
                                      event’’ as a ‘‘poor reporting practice.’’ 48 The adverse events ob-
                                      served in the allograft trial were observed and formatted in a table,
                                      but following the advice of Bearcroft, the table was not included in
                                      the published paper.49
                                        45 Burkus, et al., ‘‘Six-Year Outcomes of Anterior Lumbar Interbody Arthrodesis with Use of
                                      Interbody Fusion Cages and Recombinant Human Bone Morphogenetic Protein–2,’’ JBJS 2009.
                                        46 The Spine Journal 11 (2011) 471–491.
                                        47 Moher, et al., ‘‘The CONSORT Statement: Revised Recommendations for Improving the
                                      Quality of Reports of Parallel-Group Randomized Trials,’’ JAMA, April 18, 2001.
                                        48 ‘‘Better Reporting of Harms in Randomized Trials: An Extension of the CONSORT State-
                                      ment,’’ Ann. Intern. Med., 2004; 141:781–788 at http://www.annals.org/content/141/10/781.
                                      full.pdf+html.
                                        49 E-mail between Medtronic Employees on June 7, 2004, MSD–R062111–064785.
                                                                                                                                      76091tx2.eps




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                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 16 of 24




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                                                           Medtronic Sought to Emphasize Pain
                                                                in Alternative Treatments
                                         Documents show that Medtronic edited draft publications to
                                      stress the pain patients experienced from undergoing a bone graft
                                      procedure instead of receiving InFuse. Medtronic markets InFuse
                                      as a less painful alternative to bone graft procedures for patients
                                      undergoing spinal fusion surgery. Medtronic’s website states: ‘‘Ac-
                                      cording to numerous studies, the harvesting procedure is actually
                                      more painful than the fusion itself, and nearly a third of patients
                                      experience hip pain two years following surgery. When compared to
                                      traditional spinal fusion procedures, INFUSE® Bone Graft, when
                                      used with the LT–CAGE® Device, eliminates the pain and blood
                                      loss, and reduces the amount of time spent in the hospital to treat
                                      complications resulting from the second site of surgery.’’ 50
                                         However, spinal surgeons are beginning to question whether ‘‘the
                                      oft-cited ‘painful iliac crest donor site’ is less serious and frequent
                                      than BMP enthusiasts would have us believe’’ after a recent study
                                      showed that ‘‘[t]he incidence of pain over the iliac crest was similar
                                      in patients in which iliac crest was harvested and those in which
                                      no graft was harvested.’’ 51
                                         After receiving a draft of an early InFuse study 52 to review in
                                      October 2001, Medtronic’s Neil Beals, whose ‘‘primary job responsi-
                                      bility was to manage Biologics marketing programs and initia-
                                      tives,’’ 53 recommended that the physician authors of the study em-
                                      phasize pain experienced by patients who received the bone graft.
                                      The patients were divided into an investigative group that received
                                      InFuse and a control group that received a bone graft obtained
                                      from the iliac crest of their pelvis.54 An October 31, 2001 e-mail
                                      shows that Beals suggested to Dr. Burkus that ‘‘a bigger deal
                                      should be made of elimination of donor site pain with INFUSE
                                      . . . so that ‘equivalent’ results aren’t received as a let down.’’ 55
                                      Again, after reviewing a later draft of the study, Beals asked Dr.
                                      Burkus on March 8, 2002, ‘‘would it be appropriate to make a big-
                                      ger deal out of donor site pain and include more discussion and ref-
                                      erences?’’ 56 Subsequently, a sentence was inserted at the end of a
                                      later draft, and included in the published version of the article,
                                      that read, ‘‘The use of rhBMP–2 is associated with high fusion
                                        50 Medtronic INFUSE® Bone Graft + LT–CAGE® Lumbar Tapered Fusion Device Fact Sheet,
                                      http://wwwp.medtronic.com/Newsroom/LinkedItemDetails.do ? item Id=1101769224707&item
                                      Type=factlsheet&lang=enlUS.
                                        51 Hu, Serena S., ‘‘Commentary: Illiac crest bone graft: are the complications overrated?’’ The
                                      Spine Journal, June 2011, http://www.spine.org/Documents/TSJJune2011lHulCommentary.
                                      pdf; Howard et. al., ‘‘Posterior iliac crest pain after posterolateral fusion with or without iliac
                                      crest graft harvest,’’ The Spine Journal, June 2011, http://www.spine.org/Documents/
                                      TSJJune2011lHowardletallPosteriorIliacCre.pdf.
                                        52 ‘‘Anterior lumbar interbody fusion using rhBMP–2 with tapered interbody cages,’’ J. Spinal
                                      Disord. Tech. 2002 Oct; 15(5):337–49, http://www.ncbi.nlm.nih.gov/pubmed/12394656.
                                        53 Medtronic provided the Committee with this summary of Neil Beals’s job titles and cor-
                                      porate responsibilities in a correspondence on May 5, 2012: ‘‘Neal Beals, M.S., M.B.A. is the
                                      former Vice President of Biologics Marketing, a position he held from February 2003 to August
                                      2011. Mr. Beals joined Sofamor Danek in 1998 as Group Director, Tissue/Biologics within the
                                      Interbody Division. He held this position until October 2000 when he became Group Director,
                                      Biologics. He became Vice President of Biologics Marketing in 2003 and a Corporate Vice Presi-
                                      dent in 2007. In these positions, his primary job responsibility was to manage Biologics mar-
                                      keting programs and initiatives.’’
                                        54 ‘‘Anterior lumbar interbody fusion using rhBMP–2 with tapered interbody cages,’’ supra at
                                      32.
                                        55 E-mail from Neil Beals to Dr. Burkus, October 31, 2001, MSD–R062111–033566.
                                        56 E-mail from Neil Beals to Dr. Burkus, March 8, 2002, MSD–R062111–077880.




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                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 17 of 24




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                                      rates without the need for harvesting bone graft from the iliac crest
                                      and exposing the patient to the adverse effects associated with that
                                      procedure.’’ 57




                                         Medtronic also sought to include discussion of long-term pain in
                                      the Baskin, et. al. 2003 paper on InFuse in the cervical spine. In
                                      a draft of the publication that was being circulated on August 30,
                                      2002, the authors wrote, ‘‘[b]y 12 months after surgery, the pa-
                                      tients [sic] graft-site pain had resolved . . . and no patients com-
                                      plained about the graft-site appearance.’’ Beals inserted comments
                                      after this sentence stating, ‘‘ALTHOUGH THE PATIENTS DID
                                      NOT COMPLAIN ABOUT APPEARANCE DIDN’T SOME STILL
                                      EXPERIENCE PAIN AT THE DONOR SITE? SEEMS LIKE RE-
                                      SIDUAL EFFECTS OF DONOR SITE SHOULD BE NOTED.’’ 58
                                      [sic] [emphasis in original]. In an e-mail to his colleague, Beals
                                      wrote, ‘‘I would also add in more discussion on donor site pain and
                                      need for osteogenetic graft material (plant seed of doubt for just
                                      using allograft by itself ).’’ 59 A review of the final published article
                                      reveals that, after Beals made the suggestion to emphasize pain at
                                      the bone graft site, a sentence was added in the final version of the
                                      article that read, ‘‘. . . even at the 24-month follow-up assessment,
                                      some patients continued to experience residual pain at the donor
                                      site, and rated the appearance of the site as only fair.’’




                                        57 Compare drafts attached to e-mails from Dr. Burkus to Neil Beils on March 8, 2002, MSD–

                                      R062111–078880, MSD–R062111–077882 and April 4, 2002, MSD–R062111–033863, MSD–
                                      R062111–033825.
                                        58 Draft copy of Baskin et. al. study e-mailed on August 30, 2002, MSD–R062111–034124.
                                        59 Id.
                                                                                                                                     76091tx3.eps




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                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 18 of 24




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                                                    Medtronic Attempted to Downplay Cervical Spine
                                                           Side Effects in a 2006 Publication
                                        In 2008, ‘‘the FDA issued an alert after receiving reports of life-
                                      threatening complication following cervical fusion procedures in-
                                      volving [bioengineered proteins such as InFuse], including breath-
                                      ing difficulty and swelling of the neck.’’ 60 Additionally, a study
                                      published in the Journal of the American Medical Association
                                      found that ‘‘[p]atients who received a bioengineered protein during
                                      spinal fusion procedures to correct neck pain had far more com-
                                      plications than patients who did not get it.’’ 61
                                        E-mails show that Rick Treharne, Senior Vice President of Clin-
                                      ical and Regulatory Affairs at Medtronic, unsuccessfully attempted
                                      to tone down a study SPINE published in 2006 that found a ‘‘sig-
                                      nificant rate of complications . . . after the use of a high dose of
                                      [rhBMP–2] in anterior cervical fusions.’’ In December 2004, Rick
                                      Treharne e-mailed a co-author of this study, Dr. Glassman, in an
                                      unsuccessful attempt to have some of the critical language in the
                                      study modified. Treharne wrote, ‘‘Again it is probably too late, but
                                      page 14 line 13 says ‘The high complication rate is alarming and
                                      warrants intense scrutiny.’ I think what you are trying to say is
                                      that the occurrence [sic] adverse events (not effects as in the title)
                                      in these patients was higher than expected and warrants further
                                      investigation.’’ 62 The e-mail from Treharne was sent after the
                                      paper was submitted to SPINE.




                                           60 ‘‘Bone-Growth Problems Show Risk in New Study,’’ New York Times, June 30, 2009.
                                           61 Id.
                                           62 E-mail from Rick Treharn to Steve Glassman, December 15, 2004, MSD–R062111–035348.
                                                                                                                                    76091tx4.eps




VerDate Nov 24 2008   12:18 Oct 23, 2012    Jkt 065425   PO 00000   Frm 00017   Fmt 6633    Sfmt 6633   R:\DOCS\76091.000   MMAUK
                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 19 of 24




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                                         Additionally, even after Medtronic attempted to include a warn-
                                      ing about cervical swelling on the FDA label, one Medtronic physi-
                                      cian consultant recommended against raising alarms with the phy-
                                      sician community. On April 8, 2004, Rick Treharne e-mailed Med-
                                      tronic physician consultant Scott Boden, informing him that the
                                      company received complaints related to off-label use of InFuse in
                                      the cervical spine.63 Dr. Boden responded that he was aware of a
                                      case of swelling where there was a ‘‘golf ball size mass in the neck
                                      clearly visible through the skin.’’ 64 Boden recommended that sur-
                                      geons needed to be continually warned about off-label use of BMP
                                      in the cervical spine.65 Medtronic told the Committee that during
                                      this time, it voluntarily sought changes to the InFuse product label
                                      in June 17th, 2004 to notify the public of a risk of swelling when
                                      used in the cervical spine, but the effort was opposed by the FDA
                                      due to the agency’s concern that adding a warning to the label
                                      about an off-label use was a form of off-label promotion. In June
                                      2004, Rick Treharne wrote to Dr. Burkus that, based on his statis-
                                      tical analysis of new cases versus what was observed in the clinical
                                      trials, he did not, ‘‘at this time, see anything to worry about.’’ 66 In
                                      August 2004, despite Dr. Boden’s recommendation to Rick
                                      Treharne earlier that year that physicians should be ‘‘continually
                                      warned’’ about off-label use, Dr. Boden told Dr. Charles Mick of the
                                      North American Spine Society that because there wasn’t enough in-
                                      formation to identify the cause of the swellings, ‘‘it may be pre-
                                      mature for any ‘official’ warning.’’ 67 Medtronic paid Dr. Boden
                                      $705,457 through 2004 and $28,796,034 by the end of 2008. FDA
                                      granted Medtronic permission to send a ‘‘Dear Doctor’’ letter to
                                      physicians conveying concerns about InFuse on September 14, 2004
                                      and placed a warning on the product label on December 7, 2004.
                                                         Omission of Retrograde Ejaculation Rates
                                                             in Investigative Patient Groups
                                         In his 2011 Spine Journal article, Dr. Carragee reported that
                                      ‘‘multiple independent studies have found that the rate of [retro-
                                      grade ejaculation (a condition that causes sterility)] in ALIF with
                                      rhBMP–2 is approximately 5% to 7% and possibly two to four times
                                      higher than the rate observed without rhBMP–2.’’ 68 However, the
                                      physician authors who reported the clinical results of a major
                                      Medtronic-sponsored study in the Journal of Spinal Disorders and
                                           63 E-mail from Rick Treharne to Scott Boden, April 8, 2004, MSD–R062111–068997.
                                           64 E-mail from Scott Boden to Rick Treharne, April 10, 2004, MSD–R062111–068997.
                                           65 Id.
                                           66 E-mail from Rick Treharne to Dr. Burkus, June 14, 2004, MSD–R062111–069316.
                                        67 E-mail from Scott Boden to NASS President Charles Mick, August 16, 2004, MSD–
                                      R062111–069477.
                                        68 http://www.spine.org/Documents/TSJJune2011lCarrageeletallCriticalRev.pdf, page
                                      479.
                                                                                                                                    76091tx5.eps




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                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 20 of 24




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                                      Techniques attributed the adverse event to the surgical technique
                                      used without comparing the investigational study group receiving
                                      InFuse to the control group.69 Dr. Carragee told the New York
                                      Times that the omission is significant because ‘‘[i]t is important
                                      that men who are considering having children have the opportunity
                                      to weigh the risks of the various available procedures.’’ 70
                                         A February 2001 PowerPoint presentation indicates that Dr.
                                      Zdeblick was aware that retrograde ejaculation rates were higher
                                      in both investigational groups than the control group. In a
                                      PowerPoint presentation to study investigators in February 2001,
                                      Dr. Zdeblick reported a 10.3% rate of retrograde ejaculation using
                                      the laparoscopic technique, a 6.3% for patients who underwent an
                                      ‘‘open’’ technique, and a 1.5% rate for the control group. The 10.3%
                                      rate was noted in the presentation to be ‘‘[s]tatiscally different from
                                      [the] control [group].’’ 71
                                                    Medtronic Wrote Author Responses to Peer-Review
                                         E-mail exchanges between Dr. Burkus and Medtronic employees
                                      regarding a study of InFuse utilizing the posterior lumbar inter-
                                      body fusion (PLIF) technique and published in The Spine Journal
                                      in 2004 demonstrates that Medtronic employees not only edited the
                                      draft manuscript to include comments supportive of InFuse, they
                                      also covertly participated in the peer-review process by drafting re-
                                      sponses to peer-reviewers on behalf of the physician authors named
                                      on the paper.
                                         On December 21, 2002, Dr. Burkus sent a draft manuscript of
                                      the study to Medtronic officials asking for assistance with ‘‘further
                                      data analysis.’’ 72 Bill Martin, Vice President for Spinal Marketing,
                                      Global Communications, and Medical Education at Medtronic,
                                      made it clear to other Medtronic employees that Medtronic would
                                      be in a ‘‘supporting cast’’ in assisting Dr. Burkus with this study
                                      rather than reworking the paper.73
                                         According to a January 1, 2003, e-mail written by Bill Martin,
                                      ‘‘Dr. Burkus wanted his name last (and all the neuro’s first) so that
                                      it would be well accepted by the Neurosurgical community.’’ In ad-
                                      dition, Martin wrote that, ‘‘I’m sure none of us believe the PLIF
                                      technique is going to have a resurgence from this, but we may want
                                      to steer clear of calling it a flawed technique. There are still quite
                                      a few surgeons utilizing this technique and we probably don’t want
                                      to put them in that position’’ 74 (emphasis in original).
                                         In a January 10, 2003, e-mail to Dr. Burkus, Rick Treharne
                                      wrote, ‘‘In looking over the data, I was impressed with how well the
                                      BMP patients actually did. So much so that I added a few para-
                                      graphs at the end that you may not agree with.’’ In the draft arti-
                                      cle, Treharne wrote:
                                           69 Id.
                                        70 ‘‘New Study Links Spine Product From Medtronic to Risk of Sterility in Men,’’ New York
                                      Times, May 25, 2011.
                                        71 PowerPoint presentation attached to a February 2, 2001 e-mail between Medtronic employ-
                                      ees, MSD–R062111–032878; MSD–R062111–032916.
                                        72 E-mail from Dr. Burkus to Medtronic officials, December 21, 2002, MSD–R062111–040537.
                                        73 E-mail from Bill Martin to Neil Beals and Peter Wehrly, January 1, 2003, MSD–R062111–
                                      078885.
                                        74 Id.




VerDate Nov 24 2008   12:18 Oct 23, 2012    Jkt 065425   PO 00000   Frm 00019   Fmt 6633    Sfmt 6633   R:\DOCS\76091.000   MMAUK
                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 21 of 24




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                                           In conclusion, this detailed, independent review of the results,
                                           which represent the first use of osteoinductive proteins in a
                                           PLIF procedure, are encouraging. These findings along with
                                           other studies for other indications imply that future larger
                                           PLIF studies with BMP–2 are needed. In future studies using
                                           modified surgical techniques, such as using more recessed
                                           cages to allow for extra posterior bone formation, adding steps
                                           to minimize bleeding, and/or adding secondary instrumentation
                                           may be beneficial. Further, possibly modifying patient selec-
                                           tion, such as entering patients with less vertebral slip, may
                                           also help minimize confounding variables. All of these changes
                                           may produce even better, more convincing evidence that IN-
                                           FUSE Bone Graft can also be used as substitute for autograft
                                           in PLIF procedures.75
                                         On February 1, 2003, Dr. Burkus e-mailed another draft of the
                                      BMP manuscript to Medtronic officials asking for ‘‘final com-
                                      ments.’’ 76 On March 7, 2003, Julie Bearcroft e-mailed Dr. Burkus
                                      an updated version of this manuscript with her proposed changes
                                      to the draft.77
                                         After submission of the initial draft of this study to The Spine
                                      Journal, physicians who peer-reviewed the article were critical of
                                      its presentation of the study results. One reviewer wrote: ‘‘Unless
                                      the authors can discuss the results of this study in an unbiased
                                      manner, which they have been unable to do in its present form,
                                      this data should not be published.’’ Another reviewer wrote: ‘‘The
                                      manuscript is full of biased statements that are a reflection of the
                                      data evaluators—the company that markets the product.’’ That re-
                                      viewer recommended a discussion of potential bias in the text of
                                      the paper writing, ‘‘As it stands it is an advertisement for a specific
                                      product without significant scientific merit.’’ 78




                                        E-mail correspondence on May 28, 2003, indicates that Med-
                                      tronic’s Rick Treharne wrote and sent Dr. Burkus a draft letter to
                                      Dr. Tom Mayer, Editor-in-Chief of The Spine Journal, to address
                                      concerns raised by orthopedic surgeons tasked with peer-reviewing
                                      the submitted PLIF paper.79 A subsequent e-mail by Julie Bear-
                                      croft notes that she and Dr. Burkus collaborated further on the re-

                                           75 E-mail from Rick Treharne to Dr. Burkus, January 10, 2003, MSD–R062111–068009.
                                           76 E-mail   from Dr. Burkus to Medtronic officials, February 1, 2003, MSD–R062111–040735.
                                           77 E-mail from Julie Bearcroft to Dr. Burkus, March 7, 2003, MSD–R062111–040848.
                                           78 E-mail from Rick Treharne to Dr. Burkus, May 28, 2003, MSD–R062111–040930.
                                           79 Id.
                                                                                                                                       76091tx6.eps




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                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 22 of 24




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                                      sponse to the peer-reviewers of this study during a Lumbar Spine
                                      Study Group event.80
                                         In response to the peer-reviewers’ concerns about bias in the
                                      manuscript, the response letter seemingly misled The Spine Jour-
                                      nal by stating that ‘‘To help eliminate any potential bias, only one
                                      of the co-authors was a clinical investigator—the other three were
                                      independent reviewers of all the data. Since these data are taken
                                      from a clinical IDE study sponsored by a company, only the com-
                                      pany would have all the data in its database—data that is re-
                                      viewed by FDA auditors. We don’t believe any discussion of bias is
                                      needed for the text.’’ 81 By the end of 2003, ‘‘independent reviewers’’
                                      Dr. Haid and Dr. Burkus would have received $7,793,000 and
                                      $722,000 from Medtronic, respectively. This draft letter, written at
                                      least in part by Medtronic on behalf of Dr. Burkus, did not disclose
                                      the company’s role in directly editing the paper nor did it disclose
                                      the magnitude of financial payments made to the supposed ‘‘inde-
                                      pendent reviewers.’’
                                         Upon hearing the news that there would be an editorial by Dr.
                                      Neal Kahanovitz criticizing the PLIF study along with the paper,
                                      Medtronic Senior Vice President and President for Europe, Canada,
                                      Latin America, and Emerging Markets, Michael Demane wrote in
                                      an e-mail to Bill Martin, ‘‘this is going to hurt more than help be-
                                      cause of the reviewers [sic] comments. Too late to turn back tho.’’ 82
                                      [sic]
                                                             PEEK Spacer Cervical Spine Study
                                          Documents show that Medtronic unsuccessfully proposed that
                                      the FDA approve a less restrictive rule for when the company must
                                      suspend patient enrollment in a clinical study of InFuse used in
                                      the cervical spine for safety reasons.83 According to a November 1,
                                      2006, e-mail written by Medtronic’s Senior Director of Medical and
                                      Regulatory Affairs Dr. Martin Yahiro, the company proposed a
                                      weaker rule because ‘‘it would be very difficult to pin [an adverse
                                      event] on INFUSE.’’ 84 Yahiro explained that a rule required by the
                                      FDA based on ‘‘specific events with incidence rates . . . would stop
                                      the trial when it would be hard to say it WASN’T INFUSE’’ (em-
                                      phasis in original.) 85 Medtronic’s proposed rule, according to
                                      Yahiro, was written to allow the company to continue the trial even
                                      ‘‘if a patient has an [adverse event] like severe cervical swelling’’
                                      because Medtronic ‘‘can honestly say that it is not possible to know
                                      that the cause is definitely INFUSE.’’ 86 However, the FDA rejected
                                      Medtronic’s proposal and required that the company adopt stricter
                                      rules based on specific adverse event rates in its final protocol.87
                                           80 E-mail from Julie Bearcroft to Dr. Burkus, June 3, 2003, MSD–R062111–068487.
                                           81 E-mail from Rick Treharne to Dr. Burkus, May 28, 2003, MSD–R062111–040930 at 041013.
                                           82 E-mail from Michael DeMane to Bill Martin, March 9, 2004, MSD–R062111–079038.
                                         83 See documents relating to Medtronic’s Investigational Device Exemptions application for a
                                      clinical trial of the Infuse Bone Graft/PEEK Interbody Spacer/Anterior Cervical Plate, MSD–
                                      R021612–000767—MSD–R021612–000790.
                                         84 E-mail from Dr. Martin Yahiro, November 1, 2006, MSD–R062111–073578.
                                         85 Id.
                                         86 Id.
                                         87 Section 6.24 of the InFuse Bone Graft/PEEK Interbody Spacer/Anterior Cervical Plate In-
                                      vestigational Plan Protocal, MSD–R021612–000791.




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                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 23 of 24




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                                              Expert Testimony to the FDA Written By Medtronic
                                         E-mails indicate that Medtronic drafted Dr. Hallet Mathew’s
                                      presentation to the FDA Advisory Panel in January 2002. Dr. Mat-
                                      hews told the FDA Advisory Panel during his presentation, ‘‘I have
                                      no direct financial interest in the product under review here today
                                      and am not being paid for my participation in this meeting.’’ 88 The
                                      implication of that narrowly crafted disclaimer is that Dr. Mat-
                                      hew’s testimony was independent. However, an e-mail from Decem-
                                      ber 2001 shows that Medtronic worked with the public relations
                                      firm Ketchum on preparing Mathew’s speech. 89 Medtronic told the
                                      Committee that Mathews was not compensated for any activity un-
                                      dertaken in January 2002.90 But Medtronic did pay Dr. Hal Mat-
                                      hews under consulting arrangements with the company in 2001 91
                                      and was hired by the company as the vice president of medical and
                                      clinical affairs in 2007.92
                                                                                Conclusion
                                         The Committee’s investigation discovered troubling evidence that
                                      Medtronic officials influenced the content of articles in peer-
                                      reviewed scientific publications to present InFuse in the best pos-
                                      sible light. As physicians depend on peer-reviewed literature when
                                      making clinical decisions, biased articles in professional publica-
                                      tions that downplay potential risks and exaggerate the benefits of
                                      a product have the potential to put patients’ lives at risk. The
                                      Medicare and Medicaid programs also rely on peer-reviewed med-
                                      ical literature when determining covered benefits and services.
                                      While collaboration between study authors and industry is nec-
                                      essary to publish the results of clinical trials, as the data being
                                      presented is often controlled by the company that sponsored the re-
                                      search, the resulting articles must be untainted by industry bias.
                                        88 Transcript, FDA Advisory Panel, January 10, 2002, http://www.fda.gov/ohrms/dockets/
                                      ac/02/transcripts/3828t1.htm.
                                        89 E-mail from Ketchum to Barry Lipscomb, December 11, 2001, MSD–R062111–077826.
                                        90 Correspondence between the Committee and Medtronic on June 22, 2012.
                                        91 Id.
                                        92 ‘‘Report: Medtronic lawyer filed whistleblower suit,’’ Minneapolis Star Tribune, September
                                      25, 2008.
                                                                                                                                        76091tx7.eps




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                        Case 2:13-cv-00512-GMS Document 32-4 Filed 05/20/13 Page 24 of 24




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                                         In order to address the problem of biased research in medical lit-
                                      erature, drug and device manufacturers and journal editors need to
                                      implement stringent disclosure policies that detail industry funding
                                      to physician authors. In addition, medical journals should follow
                                      the example of The Spine Journal and critically examine past stud-
                                      ies that may exhibit industry bias that harms patients and mis-
                                      leads physicians. Further, in the event that company employees are
                                      involved in the drafting of a scientific article, the employee should
                                      be listed as an author. Medtronic’s revised policies governing prop-
                                      er interactions with physician authors are a step in the right direc-
                                      tion. However, it is unlikely that this problem is limited to one
                                      company and a handful of medical journals and doctors. Medical
                                      device manufacturers, pharmaceutical companies, and other health
                                      care stakeholders should ensure that they have transparency along
                                      with strict rules preventing improper interactions between their
                                      employees and study authors. Medical journals, if they are to re-
                                      main credible, must aggressively require contributors to disclose all
                                      ties to industry and any assistance they received in preparing the
                                      manuscript.




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